              IN THE UNITED STATES BANKRUPTCY COURT
                   FOR THE DISTRICT OF DELAWARE

                                              Chapter 11
In re:
                                              Case No. 22-11068 (JTD)
                             1
FTX Trading Ltd., et al.,
                                              (Jointly Administered)
              Debtors.
                                              Hearing Date: January 20, 2023 at 10:00 a.m.



EMERGENCY EX PARTE APPLICATION FOR ADJOURNMENT OF THE
 JANUARY 20, 2023 HEARING ON DEBTORS’ APPLICATION FOR AN
  ORDER AUTHORIZING THE RETENTION AND EMPLOYMENT OF
SULLIVAN & CROMWELL LLP AS COUNSEL TO THE DEBTORS AND
 DEBTORS-IN-POSESSION NUNC PRO TUNC TO THE PETITION DATE
         Objectors Warren Winter and Richard Brummond (collectively, the

“Individual Objectors”) hereby submit this emergency motion for the adjournment

of the hearing on the above-captioned Application, which is currently scheduled at

10:00 a.m. EST on January 20, 2023.

         1.      This afternoon, 19 January 2023, at 2:22 p.m. EST, Daniel Friedberg,

former senior legal officer of the FTX Group, filed a Declaration in Support of the




     1
       The last four digits of FTX Trading Ltd.’s and Alameda Research LLC’s tax
identification numbers are 3288 and 4063 respectively. Due to the large number of
debtor entities in these Chapter 11 Cases, a complete list of the debtors and the last
four digits of their federal tax identification numbers is not provided herein. A
complete list of such information may be obtained on the website of the Debtors’
claims and noticing agent at https://cases.ra.kroll.com/FTX.

                                       Page 1 of 4
Amended Objection of Warren Winter to Debtors’ Application for an Order

Authorizing the Retention and Employment of Sullivan & Cromwell LLP as Counsel

to the Debtors and Debtors-in-Possession Nunc Pro Tunc to the Petition Date.2

         2.    Counsel for the Individual Objectors had absolutely no role in the filing

of the Declaration, and to the best of Counsel’s knowledge neither did the Individual

Objectors themselves or anyone influenced by them.

         3.    Counsel for the Individual Objectors have never had any contact or

communication with Mr. Friedberg, whether before this filing or after. It appears

that Mr. Friedberg styled his Declaration “in support of” the Amended Objection of

his own volition, and certainly without consulting the Individual Objectors’ counsel

or seeking their permission.

         4.    With that said, the contents of Mr. Friedberg’s Declaration are self-

evidently central to the questions the Court will consider at the hearing on the

Application. Mr. Friedberg was understood by Sullivan & Cromwell to be “the

senior legal officer of the FTX Group.”3 His Declaration sets out 16 pages of




     2
         Dkt. 530 (henceforth “Friedberg Declaration”).
     3
       Dkt. 510, Supplemental Declaration of Andrew G. Dietderich in support of
Debtors’ Application for an Order Authorizing the Retention and Employment of
Sullivan & Cromwell LLP as Counsel to the Debtors and Debtors-in-Possession
Nunc Pro Tunc to the Petition Date, ¶ 15 (“I was unsure of the status of Mr.
Friedberg, who I had understood to be the senior legal officer of the FTX group.”).

                                       Page 2 of 4
substantive, relevant allegations that have not been part of the public record to date.

The Individual Objectors and all interested parties must have time to investigate

these allegations before Sullivan & Cromwell’s Application is decided.

Furthermore, in his Declaration, Mr. Friedberg averred that he “would testify

competently to the facts set out in this Declaration.”4

         5.    These circumstances require that counsel have the opportunity to

contact Mr. Friedberg to arrange for his in-person testimony at the hearing on

Debtors’ Application.

         6.    The undersigned counsel have conferred with the U.S. Trustee’s office

and Sullivan & Cromwell concerning Mr. Friedberg’s Declaration and the relief

sought in this Emergency Motion. To the best of Counsel’s understanding, the U.S.

Trustee continues to consider its position on the matter. Sullivan & Cromwell is

opposed to the relief sought in this Emergency Motion.

         WHEREORE the Individual Objectors pray this Honorable Court to adjourn

hearing on the Sullivan & Cromwell retention application to a date to be established

by the Court.




     4
         Friedberg Declaration, ¶ 81.

                                        Page 3 of 4
Dated: January 19, 2023             Respectfully submitted,

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                                Page 4 of 4
